829 F.2d 31
    Harkovich (George, Sr., Jr., Delores)v.Coyne (James  J.), Price (James), Facchiano (Richard),Parker        (Darryl), Havrilla (Nick), Pfirrman (Gary),Small      (Colleen), Wampler (Kim), Brennan (Richard),Silverhart(Louis), Palamera (Dave), Houseley (William, Jr.),Does1-25, Jane Does 1-10
    NO. 87-3247
    United States Court of Appeals,Third Circuit.
    AUG 12, 1987
    
      Appeal From:  W.D.Pa.,
      Weber, J.
    
    
      1
      AFFIRMED.
    
    